Case 2:21-cr-00127-MCS Document 68 Filed 10/16/23 Page1ofi Page ID #:312

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

CRIMINAL MINUTES —- GENERAL

Case No. 2:21-cr-00127-MCS-1 Date: October 16, 2023

Present: The Honorable: Mark C. Scarsi, U.S. District Judge

Interpreter: N/A

Stephen Montes Kerr CourtSmart Valerie L. Makarewicz
David W. Williams
Deputy Clerk Court Reporter / Recorder Assistant U.S. Attorney
U.S.A. v. Defendant(s) Present Cust Bond Attorneys for Defendants: Present App Ret
Douglas J. Chrismas xX Xx Adam H. Braun xX x
Proceedings: Status Conference

The status conference is held. Court and counsel confer about the status of the case and the
latest discovery exchange. Counsel address the Court. For reasons stated on the record, the
Court GRANTS defendant’s request to continue the trial dates. The Court continues the final
pretrial conference to February 5, 2024, at 3:00 p.m.' and the jury trial to February 13, 2024, at
8:30 a.m. The parties are to promptly submit a stipulation and proposed order with the requisite
Speedy Trial Act recitals.

119
Initials of Deputy Clerk SMO

' Following the hearing, the Court (in chambers) set the final pretrial conference date.

CR-11 (04/15) Criminal Minutes — General Page 1 of 1
